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IN THE UNITED sTATEs DISTRICT COURT =Fllf-B BY -.. ._ D-C¢
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIvISIoN 05 AUG 23 PH 3= 17
T!-Uté$ Lj. GOUID
ANDY STACHAR and CI£HK, U¢$_. `_§]~z¢:a`€§!(;'? C_OlBT
MICHELLE STACHAR’ Wi@ U‘r lf.`_ ?~.-'.E;-"£FHYS
Plaintiffs,
vs. No. 05_2479 Mav
ALLSTATE INDEMNITY COMPANY
oF TENNESSEE,
Defendant.

 

RULE 16(B) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates are
established as the final dates for:

INI'I`IAL DISCLOSURES (RULE 26(a)(1)): September 9, 2005

JOINING PARTIES:

For Plaintiff: Segtember 30a 2005

For Defenda.nt: Segtember 30, 2005
AMENDING PLEADINGS:

For Plaintiff: September 302 2005

For Defendant: Segtember 302 2005

COMPLETING ALL DISCOVERY: BeeembeP-}-ZBBS, Hp\'~'\\ ,'L‘.§, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS

ADMISSIONS: December 1, 2005

TI~.is document entered on the docket she_e’tfin co li ce
with Ru!e 58 and;'or 79{3) FRCP on _._g ..‘_¢¢,__J "K

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(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(I) Plaintiff’s Experts: December 15, 2005
(ii) Defendant’s Experts: Janua§y 2, 2006
(iii) Supplementation under Rule 26(e): Agril 10, 2006
(c) DEPOSITIONS OF EXPERTS: April 25z 2006
FILING DIsPosITIvE MoTIoNs: Mq_s,M
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Parties shall have 10 days alter service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).
The trial of this matter is expected to last two (2) days and is SET for JURY TRIAL on

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event the parties are unable to agree on a joint pre-trial order, the parties must notify the court at
least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or

within 30 days of the default or service of the responsc, answer or objection Which is the subject

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of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be Waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from
proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discovery.

This order has been entered after consultation With trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended.

IT IS SO ORDERED.

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Diane K. Vescovo
UNITED STATES MAGISTRATE JUDGE

Date: %(,(;,uo/{ 57@7, Q?Jdbr

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Ap oved for Entry:

@.At£l/

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Attorney for Defendant

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02479 was distributed by fax, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

